     Case: 1:24-cv-01269 Document #: 13-2 Filed: 02/27/24 Page 1 of 3 PageID #:372


                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION



MERCH TRAFFIC, LLC,

        PLAINTIFF,
                                                    CASE NO. 1:24-CV-01269
V.

THE PARTNERSHIPS AND UNINCORPORATED
ASSOCIATIONS IDENTIFIED ON SCHEDULE A,

        DEFENDANTS.




                     EXHIBIT 2 TO THE COMPLAINT
        Case: 1:24-cv-01269 Document #: 13-2 Filed: 02/27/24 Page 2 of 3 PageID #:373

                                     MERCH TRAFFIC, LLC
EXHIBIT 2                                                                 COPYRIGHT REGISTRATIONS

                                          Sublime Sun 12.

    Type of Work:                  Visual Material

    Registration Number / Date:    VA0002093667 / 2017-09-11

    Application Title:             Sublime Sun 12.

    Title:                         Sublime Sun 12.

    Description:                   Electronic file (eService)

    Copyright Claimant:            Jake and Troy Brand, LLC, Transfer: By written agreement. Address:
                                   c/o King Holmes Paterno & Soriano LLP, 1900 Ave. of the Stars,
                                   25th Floor, Los Angeles, CA, 90067, United States.

    Date of Creation:              1992

    Date of Publication:           1992-06-01

    Nation of First Publication:   United States

    Authorship on Application:     Opie Ortiz, employer for hire; Domicile: United States; Citizenship:
                                   United States. Authorship: 2-D artwork.

    Names:                         Ortiz, Opie
                                   Jake and Troy Brand, LLC


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        Case: 1:24-cv-01269 Document #: 13-2 Filed: 02/27/24 Page 3 of 3 PageID #:374

                                     MERCH TRAFFIC, LLC
EXHIBIT 2                                                                 COPYRIGHT REGISTRATIONS

                                          Sublime Sun 40.

    Type of Work:                  Visual Material

    Registration Number / Date:    VA0002093669 / 2017-09-11

    Application Title:             Sublime Sun 40.

    Title:                         Sublime Sun 40.

    Description:                   Electronic file (eService)

    Copyright Claimant:            Jake and Troy Brand, LLC, Transfer: By written agreement. Address:
                                   c/o King Holmes Paterno & Soriano LLP, 1900 Ave. of the Stars,
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                                   Jake and Troy Brand, LLC



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